     Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 1 of 15 PageID #:236




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


UNITED STATES OF AMERICA                      )
                                              )       Case No.: 09-CR-673
               v.                             )
                                              )       Hon. Virginia Kendall
RON COLLINS,                                  )
     also known as “Ron Ron”                  )

     GOVERNMENT’S MOTION IN LIMINE TO ADMIT CERTAIN RECORDINGS
           AND RESPONSE TO DEFENDANT’S MOTION IN LIMINE

       The UNITED STATES OF AMERICA, by its attorney, PATRICK J. FITZGERALD,

respectfully moves in limine to admit at trial three consensually- recorded phone calls from

November 2008 between defendant RON COLLINS and a confidential source. As set forth in

greater detail below, the authenticity of the November 2008 recordings is established through the

following ways: (a) the recording process; (b) the voice identification of participants on the

recordings; (c) the characteristics and content of the recordings; (d) other corroborating evidence

in the case; and (e) the chain of custody of the recordings; therefore, the recordings are admissible

at trial. In addition, the government respectfully requests that the COLLINS’ motion in limine to

exclude the three November 2008 recordings and additional recordings from December 2008, see

Def. Mot., Dkt. No. 79, based on objections of authenticity, relevance, and hearsay be denied. In

support of its motion in limine and response to COLLINS’ motion, the government states as follows:

I.     FACTUAL BACKGROUND

       On August 6, 2009, a grand jury returned an indictment against COLLINS charging him with

conspiring to knowingly possess with intent to distribute and to distribute 5 kilograms or more of

cocaine and 1 kilogram or more of heroin, in violation of Title 21, United States Code, Section 846.

Specifically, confidential source information, recorded phone calls, phone records, and the analysis
    Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 2 of 15 PageID #:237




of COLLINS’ financial records revealed that between in or about 2005 and in or about November

2008, COLLINS purchased for redistribution multi-kilogram quantities of cocaine and heroin.

       As part of the DEA’s investigation into defendant, in November 2008, agents directed a

confidential source (“CS1”) who was cooperating with law enforcement to make a series of

consensually-recorded phone calls to COLLINS. Specifically, CS1, who was located in Mexico,

consensually-recorded three phone calls to COLLINS at 773-691-1702 on November 25, 2008,

November 29, 2008, and November 30, 2008 (the “November 2008 recordings”), respectively. Over

the course of these three phone calls, COLLINS discussed receiving 30 kilograms of cocaine from

CS1 on credit for $28,000 per kilogram.

       On December 1, 2008, CS1 provided the recording device with the November 2008

recordings to DEA Special Agent Jacob Galvan, who was also in Mexico. Agent Galvan

downloaded the recordings onto a CD-rom and sent the disc to DEA Special Agent Eric Durante on

or about December 8, 2008. Agent Durante then entered the CD-rom containing the November 2008

recordings into evidence in Chicago, Illinois. On or about December 1, 2008, while in Mexico,

DEA Special Agent Matthew McCarthy took possession of, among other things, the cell phone that

CS1 used to call COLLINS. On or about December 2, 2008, in Chicago, CS1, in the presence and

at the direction of a monitoring agent, consensually recorded five phone calls with COLLINS

(“December 2008 recordings”). On this date, CS1 both called COLLINS and received phone calls

from him at the same phone number that CS1 had used in Mexico to call COLLINS, 773-691-1702.

Phone records obtained for 773-691-1702 for the period between November 17, 2008 and December

11, 2008, did not provide a subscriber name, but showed that the user of the telephone called or

received calls from only one phone number that was preceded by the country code of “52”


                                               2
      Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 3 of 15 PageID #:238




associated with Mexico. In addition, the calls’ dates, times, and duration correspond with the

November 2008 recordings.

        The government now moves in limine to admit the November 2008 recordings on the basis

of the recordings’ authenticity. COLLINS objects to the admissibility of the November 2008

recordings without the testimony of the monitoring agent or a participant to the conversation. See

Def. Mot. at 2. COLLINS further objects to both the November 2008 recordings and the December

2008 recordings on grounds of relevance and hearsay.1 Id. at 3-5. For the reasons set forth below,

the government’s motion in limine should be granted and COLLINS’ motion, which lacks merit,

should be denied.

II.     ARGUMENT

        A.      Because the Government Can Establish the Authenticity of the November 2008
                Recordings, Such Recordings are Admissible Without the Testimony of a
                Participant or Monitoring Agent.

        The Seventh Circuit has held that a party offering recordings into evidence must prove by

clear and convincing evidence that the recording is true, accurate, and authentic. See, .e.g., United

States v. Westmoreland, 312 F.3d 302, 311 (7th Cir. 2002). The offering party may meet that burden

by establishing a recording’s chain of custody or by otherwise establishing a foundation as to the

trustworthiness and accuracy of the evidence. See, e.g., United States v. Thomas, 294 F.3d 899, 904

(7th Cir. 2002). “Authenticity” is a conclusion that evidence is, in fact, what its proponent claims.


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          COLLINS does not challenge the authenticity of the December 2008 recordings, which the
government will seek to introduce at trial through the testimony of the monitoring agent. The foundation for
recordings may be provided circumstantially through evidence that the events discussed on the tapes in fact
occurred and that the purported speakers on the recordings in fact participated in those events. See, e.g.,
United States v. Restrepo, 814 F.2d 1236, 1241 (7th Cir. 1987); see also United States v. O’Connell, 841 F.2d
1408, 1421 (8th Cir. 1988) (“In view of the identity between the scenario arranged on the telephone and that
subsequently enacted, . . . ‘the substance of the communication itself may itself be enough to make prima
facie proof.’” (quoting United States v. Bonanno, 487 F.2d 654, 659 (2d Cir. 1973)).

                                                     3
    Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 4 of 15 PageID #:239




See Fed. R. Evid. 901.

       1.      Proof of Authenticity Does not Require the Testimony of a Participant or
               Monitoring Agent.

       Although defendant claims that the recordings cannot be admitted without the testimony of

an agent who monitored the call or a participant to the conversation, defendant does not cite a single

case that so holds. In fact, there is no such requirement for a recording to be authenticated. The

jury, as fact-finder, is the ultimate arbiter of whether real evidence, including recordings, is

authentic. See United States v. Wilson, 973 F.2d 577, 580 (7th Cir. 1992) (holding that “the jury is

generally entitled to determine whether the recordings are genuine”); United States v. Zambrana,

864 F.2d 494, 498 (7th Cir. 1988) (holding that it is up to the jury “to determine the trustworthiness

of the tape recordings”); United States v. Andreas, 23 F.Supp.2d, 835, 841, aff’ed by 216 F.3d 645,

655-56 (7th Cir. 2000). The role of the trial court is to determine, as an initial matter, if there is

“evidence sufficient to support a finding that the matter in question is what its proponent claims.”

Fed. R. Evid. 901(a). The test is whether any rational juror could possibly conclude that the

evidence in question is authentic. See United States v. Andreas, 23 F.Supp.2d at 840; Ricketts v.

City of Hartford, 74 F.3d 1397, 1411 (2d Cir. 1996) (tape authentication). Once the proponent of

the evidence makes out a prima facie showing of authenticity, then the evidence should be submitted

to the jurors for consideration of its authenticity, and the burden shifts to the opponent of the

evidence to convince them that the evidence is not authentic. The prima facie showing need not

consist of a preponderance of the evidence. Zenith Radio Corp. V. Matsushita Electric Industrial

Co., 505 F. Supp. 1125, 1219 (E.D. Pa. 1980), aff’d in part, rev’d on other grounds, 723 F.2d 238

(3rd Cir. 1983), rev’d on other grounds, 475 U.S. 574 (1986).

       The requirement of the prima facie case is flexible. Courts have “‘eschewed any formalistic

                                                  4
    Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 5 of 15 PageID #:240




approach to the admission of tape recordings or copies thereof.’” See Smith v. City of Chicago, 242

F.3d 737, 741 (7th Cir. 2001) (quoting Stringel v. The Methodist Hospital of Indiana, Inc., 89 F.3d

415, 420 (7th Cir. 1996)). The foundation for the admission of a taped conversation may be

“circumstantial or direct, real or testimonial, and need not conform to any particular model.” United

States v. Haldeman, 559 F.2d 31, 108 (D.C. Cir. 1976); see also United States v. Puerta Restrepo,

814 F.2d 1236, 1239 (7th Cir. 1987) (authentication may be established by circumstantial evidence).

       Rule 901(b) gives ten examples of authentication sufficient under the Rule, “[b]y way of

illustration only, and not by way of limitation. . . .” Only one of the ten examples involves

“[t]estimony of witness with knowledge. . . . [t]hat a matter is what it is claimed to be.” Fed. R.

Evid. 901(a)(1). Another possible means of authentication includes “testimony describing the

process or system that created the tape” United States v. Dale, 991 F.2d 819, 843 (D.C. Cir. 1992).

“There is simply no requirement that the tapes be put in evidence through the person wearing the

recorder or, for that matter, through a contemporaneous witness to the recorded conversations.”

United States v. Fuentes, 563 F.2d 527, 531-32 (2d. Cir. 1977) (citations omitted); see Andreas, 23

F.Supp.2d at 840-41; United States v. Barone, 913 F.2d 46, 49 (2d Cir. 1990).

       For example, in United States v. Andreas, the court admitted recordings based on evidence

of a chain of custody coupled with independent corroborating evidence, including FBI agents who

testified to the chain of custody and the voice identity of the participants; intrinsic evidence of

authenticity within the recordings; testimony of coconspirators, who had been recorded in other

conversations referring to the conversations in the recordings at issue; and expert testimony to

address an issue of reuse and “redubbing” of the tapes, in order to establish that the recordings were

genuine and unaltered. 23 F.Supp.2d at 841. As another example, in United States v. Bright, 630


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    Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 6 of 15 PageID #:241




F.2d 804, 819 (5th Cir. 1980), the Fifth Circuit found that tapes were properly authenticated by

circumstantial evidence, even though one of the parties to the conversation, the government

informant, was dead, and the other party was the defendant. See also Fuentes, supra (upholding

authentication of tapes where no monitoring and informant disappeared).

       Courts also have found a prima facie showing of authenticity even where the tapes in

question were of unknown or extragovernmental origin—without the “presumption of official

regularity” associated with government tapes. See United States v. Matta-Ballesteros, 71 F.3d 754,

768 (9th Cir. 1995) (audiotapes of agent’s torture and execution seized from co-defendant properly

authenticated; approving use of circumstantial evidence as “sufficient proof . . . so that a reasonable

juror could find in favor of authenticity or identification” (quotations and citations omitted)); see

also United States v. Kandiel, 865 F.2d 967, 974 (8th Cir. 1989); United States v. O’Connell, 841

F.2d 1408, 1420 (8th Cir. 1988).

       In United States v. Khorrami, 895 F.2d 1186 (7th Cir. 1990), the government prosecuted a

threatening communications case relying, in part, on messages left by an anonymous caller on the

answering machine of the Jewish National Fund in New York City. The government offered

evidence that identified the defendant as the speaker based on the content of the tape and

circumstantial evidence. For at least some of the tapes there was no listener present when the

defendant left his message, and thus no one could state that the tape played in court had not been

altered by someone acting on their own agenda in an emotionally-charged case. The court of

appeals upheld their admission. Id.

       2.      The Government Can Make a Prima Facie Showing of Authenticity at Trial.

       At trial, the government will offer the following evidence of the authenticity of the


                                                  6
    Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 7 of 15 PageID #:242




November 2008 recordings:

               a.     The Recording Process

       First, the government will present evidence regarding the recording process. Unlike the

tapes in Matta-Ballesteros, Kandiel, and O’Connell, supra, this is not a case where the proffered

recordings are of unknown or uncertain origin. These conversations were recorded by known

processes, using appropriate, functional technology. Agent Galvan will testify that he received the

recording device, which was a standard digital recorder, on or about December 1, 2008 from CS1.

Special Agent Galvan will further testify that he downloaded the three recordings directly from the

digital recorder, which had appropriate functional technology allowing such downloading.

               b.     Voice Identification of Participants on the Recordings

       Second, the government will present evidence as to the voice identification of the

participants on the November 2008 recordings. Specifically, on or about August 18, 2009, Agent

Durante was present for COLLINS’ arrest.2 Agent Durante spoke with COLLINS that day during

an interview and became familiar with his voice. From this interview, Agent Durante was able to

identify COLLINS as one of the speakers on the November 2008 recordings. In addition, Special

Agent Durante became familiar with CS1’s voice during the DEA’s investigation and he was able

to identify CS1 as the other speaker on the November 2008 recordings. A person may opine about

the identity of a speaker based on “hearing the [subject’s] voice at any time,” before or after the

recording or investigation. See Fed. R. Evid. 901(b)(5). Furthermore, the person identifying the

voice need not be a participant or contemporaneous listener of the particular conversation, as long




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         In addition, Agent Durante overheard one of the November recordings with COLLINS while on
another telephone with CS1, via speakerphone.

                                                7
    Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 8 of 15 PageID #:243




as he is familiar with the voice. See United States v. Cruz-Rea, Nos. 09-3591, 10-1355, — F.3d —,

2010 WL 4628670, *3 (7th Cir. Nov. 17, 2010) (upholding voice identification based on a fifteen

second voice exemplar compared with 24 wiretapped telephone conversations); United States v.

Neighbors, 590 F.3d 485, 493 (7th Cir. 2009); United States v. Carrasco, 887 F.2d 794, 803-4 (7th

Cir. 1989).

               c.      The Intrinsic Characteristics and Content of the Recordings

       Third, the recordings themselves include evidence showing internal consistency, and thus

authenticity, of the recordings. Evidence may be authenticated by the “distinctive characteristics”

of the evidence itself. Fed. R. Evid. 901(b)(4). According to Rule 901(b)(4), this includes

“[a]ppearance, contents, substance, internal patterns . . . taken in conjunction with circumstances.”

See Carrasco, 887 F.2d at 803-04; see United States v. McMillan, 508 F.2d 101, 105 (8th Cir. 1974)

(“In view of the identity between the scenario arranged on the telephone and that subsequently

enacted, . . . ‘the substance of the communication may itself be enough to make prima facie proof’”)

(quoting United States v. Bonanno, 487 F.2d 654, 659 (2d. Cir. 1973)). The court in Bright, supra,

noted that the tape at issue contained a “running [internally consistent] conversation,” indicating that

the CI had not manipulated the tape even though she could not be seen during the meetings.

       In this case, based on the content of the recordings alone, there is no reason to conclude that

the recordings are anything other than what they purport to be. This real evidence manifests an

abundance of unique characteristics. These are not generic objects or documents, or recordings of

isolated sounds, or even sounds of voices, that could be interpreted in different ways, or which have

no meaning without reference to other evidence. These recordings contain entire, continuous

conversations, in which identifiable speakers—COLLINS and CS1—convey information in a logical


                                                   8
    Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 9 of 15 PageID #:244




and coherent manner. As in Bright, the recordings have the internal consistency associated with an

actual conversation. The Court can satisfy itself that this is true before trial by reviewing any or all

of the transcripts. The Court can also listen to any of the recordings themselves. See Haldeman,

559 F.2d at 109 (prima facie showing of authenticity based on trial court’s review of tapes, which

showed no unusual pauses or conversation fragments).3

                 d.      Extrinsic Corroboration

        Fourth, the recorded conversations are uniquely identifiable because the information they

convey comprises facts relevant to this case. As contemplated by Rule 901, evidence external to the

tape—the other evidence in the case— corroborates the content, and thus the authenticity, of the

recordings. Simply put, COLLINS and CS1 were recorded discussing plans and events the jury will

know to be consistent with the manner in which the drug conspiracy operated based on the testimony

of other cooperating witnesses who were participants in the conspiracy (the “co-conspirators”).

Specifically, COLLINS asked CS1 to front him approximately 30 kilograms of cocaine. In addition,

COLLINS and CS1 discussed the money that COLLINS still owed CS1. In the recorded call from

November 25, 2008, COLLINS referred to previous occasions when CS1 fronted COLLINS 50 or

60 kilograms at a time. The co-conspirators will testify about the way in which the conspiracy

operated, the quantity of drugs that COLLINS received, and the payments they received from

COLLINS on behalf of CS1, which testimony is consistent with the November 2008 recordings.

The co-conspirators further will testify that they did not have direct telephone conversations with



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         Of course, the Court can hear all of the tapes published at trial after admitting them provisionally,
and thus will have an additional opportunity to evaluate prima facie authenticity. See Huddleston, supra (trial
court may allow proponent to introduce evidence and “at a later point in the trial assess whether sufficient
evidence has been offered to permit the jury to make the requisite finding” that the condition to relevance has
been satisfied).

                                                      9
   Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 10 of 15 PageID #:245




COLLINS; rather, CS1 spoke to COLLINS by phone to arrange the delivery of the cocaine by the

co-conspirators, which method is consistent with the content of the November 2008 recordings.

       The situation is similar to that in Kandiel, 865 F.2d at 974, where the court found sufficient

evidence of authenticity to admit tape recordings of conversations between the defendant and other

individuals, even though the government did not call a participant to those conversations as a

witness. The government offered the defendant’s brother, who identified the speakers.

       Ahmed Kandiel [the brother] testified that the tapes were made in Egypt and sent to
       [defendant] by their mother and father while Ahmed was living in Egypt. The
       contents of the tape recordings have numerous references to people, places, and
       activities that were corroborative of other testimony in the record. We believe that
       the government has offered sufficient circumstantial evidence to establish the prima
       facie authenticity and correctness of the tapes.

Id.; see O’Connell, 841 F.2d at 1419 (tapes seized from defendant’s warehouse properly

authenticated in part by toll records for warehouse phone and corroboration of contents of tape by

testimony of other conspirators).

       The contents of the tapes also provide an approximate date for the conversations. The three

recordings from November 25, 29, and 30, 2008 are part of an ongoing discussion regarding the sale

of kilograms to COLLINS and corroborate each other. In the recording from Tuesday, November

25, 2008, CS1 asked whether that day was Tuesday. COLLINS confirmed that it was. CS1 then

told COLLINS to give CS1 until Friday or Saturday to get the kilograms of cocaine to COLLINS.

CS1 and COLLINS then talked on Saturday, November 29, 2008 in a second recorded call. In that

Saturday, November 29, 2008 call, CS1 told COLLINS that CS1 would call him back. In the

recorded call on the next day, November 30, 2008, CS1 told COLLINS that CS1 forgot to call back

COLLINS yesterday. See United States v. Rosenthal, 793 F.2d 1214, 1239 (11th Cir. 1986) (prima

facie showing of authenticity for seized tape without testimony of participant to conversation; date

                                                10
   Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 11 of 15 PageID #:246




established by date of seizure, content of conversation, and lodging records corroborating content).

               e.      Chain of Custody

       Finally, the government has maintained custody of the recordings throughout the

investigation and since the investigation concluded. Evidence of chain of custody is one way to

establish a foundation for a tape. See, e.g., Westmoreland, 312 F.3d at 311. Although CS1 operated

the recording device for all three recordings outside the presence of agents, Agent Galvan will testify

to collecting from CS1 the recording device one day after the last recording and downloading the

recorded calls onto a CD-rom that he sent via Federal Express to Agent Durante. After receiving

the disc, Agent Durante will testify that he placed the disc of the three recorded calls into evidence,

which is where the CD has remained. Additionally, Agent McCarthy will testify that he collected

from CS1 on or about December 1, 2008, the cell phone used by CS1 to make the recorded calls on

both November 25, 29, and 30, 2008, and then in Chicago on December 2, 2008. The cell phone

has since remained in government custody.

       The above-described chain of custody provides two assurances of authenticity. First,

because the government obtained the tapes close in time to the events they purport to depict (within

a day of the last recordings and within 6 days of the first recording), no private individual with an

incentive to alter the tapes had an extended opportunity to do so. Second, the chain of custody

considerably narrows the time frame in which the recorded conversations occurred, and corroborates

the apparent dates of the conduct recorded and events discussed.

       3.      There Is No Challenge or Evidence of Any Manipulation of the Recordings.

       COLLINS has not raised nor is there any evidence suggesting that the recordings

misrepresent the conversations. See United States v. Long, 651 F.2d 239, 243 (4th Cir. 1981)


                                                  11
     Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 12 of 15 PageID #:247




(defendant unsuccessfully challenging authenticity of recordings “presented no evidence suggesting

that the tapes misrepresent the conversations, even though [defendant] would be aware of such

misrepresentation, at least regarding taped conversations in which he was a participant”). “Although

it is conceivable that sophisticated redubbing could escape detection by normal listening, real

evidence is not [in]admissible [sic] because one can conjure up hypothetical possibilities that

tampering occurred.” Haldeman, 559 F.2d at 109.4 Moreover, evidence of recording manipulation,

even if it existed, would go only to weight, and not to admissibility. United States v. Santana, 898

F.2d 821, 823 (1st Cir. 1990) (attacks on foundation testimony affect weight, not admissibility;

testimony of participant to conversation provided but not required to authenticate tapes); Kandiel,

865 F.2d at 974 (when authenticating tapes, questions of reliability go to weight, not admissibility);

Ballou v. Henri Studios, Inc, 656 F.2d 1147, 1154-55 (5th Cir. 1981) (after threshold showing of

authenticity, doubts about possibility of alteration or contamination of evidence go to weight and

not admissibility of evidence).

B.      Both the November 2008 and December 2008 Recordings are Admissible As Relevant
        Evidence of the Charged Offense.

        COLLINS acknowledges that the recordings “could be construed” as COLLINS’ attempt to

get CS1 to front COLLINS drugs, so that he could sell the drugs and then pay CS1 and that

COLLINS in some of the calls discusses a previous relationship with CS1, during which CS1

provided drugs to COLLINS. Despite this acknowledgment, COLLINS argues that the recordings

are not admissible, asserting that the recordings are not evidence of acts or crimes that occurred in

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          Courts have consistently acknowledged the contemporaneous manipulation (selectively taping the
conversation as it occurs) is a far-fetched notion. Contemporaneous “editing” using the on-off switch is not
likely to succeed because of the impossibility of anticipating undesirable comments by other participants to
the conversation and excluding those comments from the recording without leaving sentence fragments. See
Fuentes, 563 F.2d at 532.

                                                    12
   Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 13 of 15 PageID #:248




the conspiracy, are not probative of any facts or events in this conspiracy, and are outside the dates

of the conspiracy.

       COLLINS is charged with participating in a drug trafficking conspiracy from approximately

2005 through approximately November 2008. The government anticipates that the evidence at trial

will show that COLLINS conspired with numerous individuals in this drug trafficking conspiracy,

including, among others, CS1’s distribution crew members and CS1 up to the point when CS1began

cooperating against COLLINS.

       1.      The November Recordings

       Even though CS1 was no longer a coconspirator by November 25, 2008, these recordings

provide probative evidence of COLLINS’ participation in a drug trafficking conspiracy, and

specifically the fact that COLLINS previously conspired with CS1. Not only do the calls provide

exemplary evidence of the manner in which COLLINS received fronted cocaine from CS1 in

exchange for later payment during the time of the conspiracy, the calls contain specific references

to previous occasions in which CS1—before CS1 cooperated against COLLINS—fronted COLLINS

multi-kilograms of cocaine for which COLLINS paid CS1. The recordings are admissible as

probative and relevant evidence of the conspiracy.

       2.      The December Recordings

       COLLINS specifically argues with regard to the December 2, 2008 recordings that the

recordings are outside the date of the charged conspiracy and thus not relevant. The charged

conspiracy continued through approximately November 2008. As a preliminary matter, dates

charged in the indictment must be “reasonably near” the evidence at trial of the exact date of the

offense. United States v. Blanchard, 542 F.3d 1133, 1143 (7th Cir. 2008). The Seventh Circuit has


                                                 13
   Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 14 of 15 PageID #:249




allowed for longer variances than the two days between December 2, 2008 and the last day of

November 2008. See, e.g, United States v. Leibowitz, 857 F.2d 373, 379 (7th Cir. 1988) (concluding

that 21-day variance between date proved at trial and “on or about” date alleged in indictment was

“reasonably near”).

        Regardless whether or not the conspiracy ended shortly before the recordings on December

2, 2008, the recordings provide evidence probative of the conspiracy. In these recordings on

December 2, 2008, COLLINS expressed worry and increasingly suspicion toward CS1 about an

individual who had been arrested and to whom CS1 had fronted drugs. Evidence of a conspiracy

may include efforts to conceal a conspiracy from detection by law enforcement. See United States

v. Troop, 890 F.2d 1393, 1404 (7th Cir. 1989) (“Avoiding detection by law enforcement officials

clearly furthers the aims of a conspiracy.”). These recordings are probative of COLLINS’ concern

and desire to conceal the activities of the charged conspiracy from law enforcement, particularly

where COLLINS expressed suspicion regarding CS1’s role in the individual’s arrest. COLLINS is

charged with conspiring with CS1, among others. COLLINS’ recorded conversation with CS1 is

evidence of that past drug trafficking relationship and thus probative of the offense. To the extent,

COLLINS attempts to characterize this evidence as, at most, evidence under Rule 404(b),5 he is

incorrect; the recordings are evidence probative of the charged conspiracy.

        These recordings provide probative evidence of the charged conspiracy and are thus

admissible under Federal Rule of Evidence 401.




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         COLLINS suggests in his motion that the deadline has passed for the government to provide notice
of evidence that the government intends to admit under Rule 404(b). As acknowledged in pretrial motions
and responses, the government has until January 25, 2011 to provide defense counsel notice of any Rule
404(b) evidence that the government intends to introduce.

                                                   14
     Case: 1:09-cr-00673 Document #: 82 Filed: 12/10/10 Page 15 of 15 PageID #:250




C.      The Statements in the Recordings are Admissible As Nonhearsay.

        COLLINS argues that the recordings of conversations between COLLINS and CS1 are

inadmissible as hearsay statements because CS1 was not a coconspirator at the time of the calls.

Although COLLINS is correct that CS1, at the time of the recordings, was not acting as a

coconspirator, the conversations between COLLINS and CS1 are admissible as nonhearsay.

COLLINS’ own statements are admissible as nonhearsay admissions of a party opponent. Fed. R.

Evid. 801(d)(1)(A); United States v. Tolliver, 454 F.3d 660, 665 (7th Cir. 2006). Based on the

admissibility of COLLINS’ statements, it is well-settled law that CS1’s statements are admissible

as nonhearsay to provide context for COLLINS’ statements. See, e.g., United States v. Simmons,

582 F.3d 730, 736 (7th Cir. 2009) (citingTolliver, 454 F.3d. at 666 (“Statements providing context

for other admissible statements are not hearsay because they are not offered for their truth.”)).

III.    CONCLUSION

        Based on the foregoing, the government respectfully requests that this Court: (1) grant its

motion in limiine to introduce the 3 November 2008 recordings at trial based on the proffered

showing of authenticity; and (2) deny COLLINS’ motion in limine to exclude the November 2008

and December 2008 recordings.

                                                      Respectfully submitted,
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                                                      United States Attorney

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Date: December 10, 2010

                                                 15
